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   ([KLELW35WR0HPRUDQGXPRI3RLQWVDQG
  $XWKRULWLHVLQ6XSSRUWRI'HIHQGDQW&RQFRUG
  0DQDJHPHQWDQG&RQVXOWLQJ//&¶V0RWLRQWR
'LVPLVV&RXQW2QHRIWKH6XSHUVHGLQJ,QGLFWPHQW
               FU'/)
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